          Case 1:17-cv-00365-LY Document 79 Filed 04/05/18 Page 1 of 11



                             UNITED STATES DISTRICT COURT
                              WESTERN DISTRICT OF TEXAS
                                    AUSTIN DIVISION

UMG RECORDINGS, INC., et al.,                   )
                                                )
               Plaintiffs,                      )
                                                )
vs.                                             )
                                                )    No. 1:17-cv-00365
GRANDE COMMUNICATIONS                           )
NETWORKS LLC and PATRIOT MEDIA                  )
CONSULTING, LLC,                                )
                                                )
               Defendants.
                                                )

          DEFENDANT GRANDE COMMUNICATIONS NETWORKS, LLC’S
             OPPOSED MOTION TO AMEND SCHEDULING ORDER

       Defendant Grande Communications Networks, LLC moves to amend the Scheduling

Order (ECF No. 66) to continue the pre-trial conference and trial month by at least 90 days, in

order to ensure that it has a full and fair opportunity to conduct discovery in this matter. With

deadlines for fact discovery, expert disclosures, and dispositive motions looming, Plaintiffs and

their copyright enforcement agent, Rightscorp, have failed to satisfy basic discovery obligations,

preventing Grande from conducting any depositions in this matter, and from working with its

experts to analyze the weighty and complex copyright and technological issues in this case. Due

to the severe prejudice Grande faces in preparing its case for dispositive motions and trial,

Grande is now forced to move for a 90-day extension.

       Grande does not bring this motion lightly, recognizing the Court’s strong preference for

the parties to resolve these sorts of issues by agreement. However, as detailed below, Grande

respectfully submits that the instant case is one in which an opposed motion is necessary and

appropriate.




                                                1
          Case 1:17-cv-00365-LY Document 79 Filed 04/05/18 Page 2 of 11



  I.   THE PARTIES’ MEET AND CONFER EFFORTS

       Grande has gone to extreme lengths to avoid filing the present motion. Due to Plaintiffs’

repeated failure to meet their discovery obligations, set forth in Section III, the parties have

already twice modified the existing Scheduling Order by agreement, without impacting the

pretrial conference date (December 14, 2018) or trial month (January 2019). See ECF No. 66 at

3. The original deadlines and subsequent modifications are set out in the table below (see also

Brophy Decl., ¶ 4):

                            Scheduling Order          2/16/18 Agreement     3/19/18 Agreement

Fact Discovery              March 16, 2018            April 20, 2018        June 1, 2018

Plfs.’ Expert Reports       March 23, 2018            April 27, 2018        June 8, 2018

Def.’s Expert Reports       May 7, 2018               June 1, 2018          July 1, 2018

Plfs.’ Rebuttal Reports     30 days after Def.’s June 15, 2018              July 16, 2018

                            Expert Reports

Expert Discovery            June 26, 2018             July 6, 2018          August 6, 2018

Dispositive Motions         July 20, 2018             July 20, 2018         August 10, 2018


       The parties met and conferred on multiple occasions, in good faith, in an attempt to reach

an agreement on the requested relief. On March 27, after previously raising concerns several

times about the need for a lengthier extension that would impact the trial date, Grande asked

Plaintiffs to join in the present request for a 90-day extension and requested an answer by March

28. Brophy Decl., ¶ 5 & Ex. 2. On March 29, the parties met and conferred about this issue by

telephone, and Plaintiffs indicated that they were unable at that time to join in the request. Id., ¶¶

6, 8. On April 4 and April 5, the parties met and conferred about the issue several more times by

telephone, but were unable to reach an agreement. Id., ¶ 9. As of the filing of this motion,


                                                  2
          Case 1:17-cv-00365-LY Document 79 Filed 04/05/18 Page 3 of 11



Plaintiffs had not presented any potential compromise solution concerning the length of the

requested extension.    Id.   Instead, on April 4 and 5, Plaintiffs for the first time proposed

conditions, as a prerequisite to any agreement on an extension, that are unrelated to the issues

before the Court, including the execution of tolling agreements concerning claims against other

related entities. Id.

        Having met and conferred in good faith, and faced with the urgent need to protect its

interests in this matter, Grande now moves for relief from the Court. It is not possible to adjust

the schedule any further without impacting the pretrial conference or trial month, while also

preserving Grande’s ability to be heard on a dispositive motion and prepare its case for trial.

 II.    NATURE OF THE CASE AND SCOPE OF DISCOVERY

        Plaintiffs are record companies who claim to have rights in “the great majority of all

legitimate commercial sound recordings in this country,” and they seek to hold Grande, a Texas-

based Internet service provider (“ISP”), secondarily liable for copyright infringement allegedly

committed by Grande’s customers through the file-sharing software BitTorrent. See generally

Compl., ECF No. 1; Amended Order on Report and Recommendation, ECF No. 78 (granting in

part Grande’s Motion to Dismiss); Report and Recommendation, ECF No. 72.

        Plaintiffs allege that their copyright enforcement agent, Rightscorp, Inc., “has developed

a technological system that identifies actual infringements and the perpetrators of these

infringements . . . by monitoring BitTorrent systems and extracting information about the

infringing activity.” Compl., ¶ 43. Plaintiffs further claim that Rightscorp has detected acts of

copyright infringement by users of Grande’s network, and that based on this information,

Rightscorp’s system has sent millions of automatically-generated email notices of alleged

copyright infringement to Grande. See id. at ¶¶ 43, 47-49.




                                                 3
          Case 1:17-cv-00365-LY Document 79 Filed 04/05/18 Page 4 of 11



       Plaintiffs contend that Grande is liable for willful contributory copyright infringement

because it did not terminate the Internet access of alleged “repeat infringers” identified by

Rightscorp. See, e.g., id. at ¶ 59. Thus far, Plaintiffs have identified over 1,500 registered

copyrights that they contend were so infringed. See Ex. A to Compl., ECF No. 1-1. Based on

their allegations, Plaintiffs seek “the maximum amount” of statutory damages available under the

Copyright Act (in the case of willful infringement, up to $150,000 per work) or, in the

alternative, actual damages. Compl., ¶¶ 69-70.

       Thus, at a very high level, relevant issues in discovery include:

              The functionality and capabilities of the Rightscorp system in terms of identifying
               actual instances of copyright infringement;

              Identification of the actual instances of alleged repeat copyright infringement at
               issue in this case (i.e., identification of each underlying act of direct infringement,
               tied to a specific copyright that a Plaintiff is entitled to enforce);

              When Plaintiffs first knew or should have known of the factual basis of their
               claims against Grande, for purposes of the statute of limitations and/or laches; and

              Facts related to statutory and actual damages, including plaintiffs’ alleged lost
               revenues and the value of the copyrighted works at issue (as shown by, for
               example, licensing activity).

       To date, Plaintiffs have not produced a single document regarding any of these issues.

III.   PLAINTIFFS’ REPEATED AND CONTINUING FAILURE TO PARTICIPATE
       IN DISCOVERY

       Plaintiffs have stonewalled Grande’s attempts to obtain relevant, necessary discovery in

this case, in a number of different ways.         Grande has attempted to be cooperative and

accommodating to minimize unnecessary motion practice before the Court, but at this point

Plaintiffs’ failures pose a real and substantial risk of prejudicing Grande’s ability to prepare its

case for dispositive motions and trial.

       First, more than six months have passed since Grande served requests for production on



                                                 4
          Case 1:17-cv-00365-LY Document 79 Filed 04/05/18 Page 5 of 11



Plaintiffs, yet Plaintiffs still have not produced any documents responsive to the vast majority of

Grande’s requests—despite indicating their intention to do so. To date, the only documents

Plaintiffs have produced are (1) copyright registrations for various asserted copyrights; and (2)

automated email notices of alleged copyright infringement from Rightscorp (which Plaintiffs

claim were all sent to Grande before this case was instituted). Brophy Decl., ¶ 13. Thus,

Plaintiffs have not produced, among other things, any documents concerning Rightscorp’s work

for Plaintiffs, any documents concerning the functionality or operation of the Rightscorp system,

any documents concerning their knowledge of potential copyright infringement claims against

Grande, any documents concerning Plaintiffs’ alleged lost revenues, or any documents otherwise

related to the value of Plaintiffs’ asserted copyrights. Plaintiffs have not offered and cannot offer

any legitimate excuse for these deficiencies.

       Grande has repeatedly brought this issue to Plaintiffs’ attention, and Plaintiffs have

repeatedly delayed. See, e.g., Brophy Decl., Ex. 1 (1/30/18 Email). Most recently, the parties

held a meet and confer by telephone last week, and counsel for Plaintiffs claimed that they were

still in the process of reviewing potentially responsive documents, and said they would

“probably” produce additional documents on April 2. Brophy Decl., ¶ 6. No such production

occurred, without any explanation from Plaintiffs. See id.

       Second, by agreement, Grande provided Plaintiffs with a list of search terms for email

discovery more than two months ago, and yet Plaintiffs still have not produced a single

responsive email.    Grande originally intended to serve email requests targeted at specific

document custodians, who Grande would identify through review of Plaintiffs’ other document

production.   However, because Plaintiffs did not produce—and still have not produced—

documents from which Grande could identify any relevant custodians, Grande was forced to




                                                 5
          Case 1:17-cv-00365-LY Document 79 Filed 04/05/18 Page 6 of 11



serve a general set of email search terms directed to all of the individuals identified in Plaintiffs’

Initial Disclosures. See Brophy Decl., Ex. 1 (1/30/18 Email).

       Incredibly, Plaintiffs objected to performing the requested email searches on grounds of

burden and overbreadth, even though Grande’s proposed email search terms were the same as

Plaintiffs’. Brophy Decl., ¶ 3 & Ex. 1. Using essentially the same search terms, Grande has

completed its email production in this case, including supplemental productions as Plaintiffs

identified additional document custodians based on their review of documents Grande produced.

Brophy Decl., ¶ 3. Moreover, Plaintiffs’ claims of burden lack merit—the purpose of using

search terms for e-discovery is to minimize the burden on the responding party, because it

eliminates the need to expend effort collecting and reviewing potentially responsive documents.

Instead, the responding party simply obtains all of the custodian’s emails, runs the search terms,

screens out privileged and work product material, and produces whatever is left.

       Nevertheless, Plaintiffs have slowed discovery to a crawl by subjecting Grande to round

after protracted round of negotiations regarding email search terms, refusing to agree to any

search terms until after they run the requested searches and manually review the resulting

documents. Brophy Decl., ¶ 7. These negotiations are continuing, yet even where the parties

have reached agreement on certain search terms, Plaintiffs still have not produced a single

responsive email. Id. During the parties’ meet and confer last week, Plaintiffs stated that they

“would like to think” they will be able to make some partial production of emails by April 6. Id.

       Third, Rightscorp—Plaintiffs’ copyright enforcement agent, which is represented by

Plaintiffs’ counsel—has been similarly dilatory in responding to discovery. Because Plaintiffs

claim that Rightscorp detected and notified Grande of the alleged direct copyright infringement

on Grande’s network, the functionality and operation of Rightscorp’s system is obviously a key




                                                  6
          Case 1:17-cv-00365-LY Document 79 Filed 04/05/18 Page 7 of 11



issue in the case. Thus, faced with Plaintiffs’ failure to produce any documents concerning

Rightscorp, Grande served a third-party subpoena on Rightscorp in early January. Brophy Decl.,

¶ 10. After a series of unfulfilled promises to produce documents, Rightscorp finally produced a

limited set of documents last week, consisting almost entirely of irrelevant materials, and nothing

about how the Rightscorp system functions.1 Plaintiffs/Rightscorp admitted that this was only a

partial production, but they have refused to commit to completing their production by a date

certain.2 Brophy Decl., ¶ 11.

       Fourth, and finally, as a result of Plaintiffs’ failure to produce relevant, responsive

documents, Grande has been unable to conduct any depositions in this matter, or to work with its

experts on analyzing the complex issues in this case surrounding proof of infringement and

Plaintiffs’ alleged damages. Indeed, based on Plaintiffs’ extremely limited document production

to date—only copyright registrations and automated Rightscorp notices—Grande lacks the

information it would need to even identify potential deponents, let alone prepare for and conduct

those depositions.   And without information about the Rightscorp system or the value of

Plaintiffs’ asserted copyrights (among other things), Grande’s technical and damages experts

have been unable even to begin conducting their analyses.



1 The production consisted of roughly 1,100 documents, of which more than 1,000 are irrelevant
form-letter emails from Rightscorp to Grande on behalf of copyright holders other than
Plaintiffs, which on their face do not appear to be responsive to any document request. Brophy
Decl., ¶ 11. The remainder is documents related to a previous attempt by Rightscorp to enforce a
third-party subpoena against Grande for customer information, and a series of PowerPoint
presentations regarding the general nature of Rightscorp’s business, presumably prepared for
potential customers or investors. Id.
2 Grande has also sought information regarding the Rightscorp system through a third-party
subpoena to BMG Rights Management (US) LLC, the plaintiff in similar copyright infringement
litigation against Cox Communications, another ISP. See, e.g., Report & Recommendation at 8-
9, 16 (discussing the Fourth Circuit’s recent decision in that litigation). Although that subpoena
was served in early February, BMG has not yet produced any responsive documents, although it
claims that it intends to do so. Brophy Decl., ¶ 12.


                                                7
          Case 1:17-cv-00365-LY Document 79 Filed 04/05/18 Page 8 of 11



IV.    GRANDE’S REQUESTED 90-DAY                        CONTINUANCE           OF     PRETRIAL
       CONFERENCE AND TRIAL MONTH

       Good cause exists to continue the December 14, 2018 pretrial conference and January

2019 trial month by at least 90 days. This would make the presumptive trial month April or May

of 2019, which is consistent with Grande’s recommendation at the initial pretrial conference.

See ECF No. 71 at 9-10.

       For the reasons set forth above, Grande’s ability to prepare its case for dispositive

motions and trial will be severely compromised if the case proceeds under the current schedule.

Under the current, amended version of the schedule (set forth in the previous section), the parties

have less than two months remaining to complete all fact discovery in this matter, and yet

Plaintiffs’ and Rightscorp’s document production is not only incomplete—it is virtually non-

existent. Once they do substantially complete their production, Grande will need an appreciable

amount of time to review and analyze those documents. And even then, the parties will still need

to schedule and complete a number of depositions that is likely to be substantial.

        Moreover, this case presents highly complex issues at the intersection of copyright law

and Internet technology that will require significant attention from the parties and their experts.

As a result of Plaintiffs’ discovery failures, Grande has not been able to even begin addressing

these issues. It appears that Plaintiffs intend to base their infringement claims on file-sharing

activity allegedly detected by Rightscorp, which raises complex technical questions regarding the

functionality of the Rightscorp system and the proof necessary to establish the alleged

underlying instances of direct infringement by users of Grande’s network. These questions are

made even more complex by the fact that Plaintiffs allege infringement of more than 1,500

distinct copyrights, over a period of at least three years prior to the filing of the Complaint.

Furthermore, analysis of Plaintiffs’ alleged damages—whether based on the statutory measure or



                                                8
          Case 1:17-cv-00365-LY Document 79 Filed 04/05/18 Page 9 of 11



actual damages—will necessarily also involve a complicated assessment of the volume of

alleged infringement at issue, how to identify so-called “repeat” infringers, and how to assess the

relative value of more than 1,500 different copyrighted works—among other things. Given

Plaintiffs’ failure to produce any documents regarding these issues, it would be unreasonable to

expect or require Grande to complete all fact discovery by June 1, 2018.

        As a result, Grande respectfully submits that the requested modification of the

Scheduling Order is both necessary and appropriate. Grande is and has been committed to

litigating this dispute efficiently and expeditiously, but Plaintiffs’ repeated discovery failures

have simply made it impossible for Grande to do so under the existing case schedule.

                                        CONCLUSION

       For the foregoing reasons, the Court should grant Grande’s Motion to Amend Scheduling

Order and continue the pretrial conference and trial month by at least 90 days.




                                                9
        Case 1:17-cv-00365-LY Document 79 Filed 04/05/18 Page 10 of 11



Dated: April 5, 2018


                                           By: /s/ Richard L. Brophy
                                               Richard L. Brophy
                                               Zachary C. Howenstine
                                               Margaret R. Szewczyk
                                               Armstrong Teasdale LLP
                                               7700 Forsyth Blvd., Suite 1800
                                               St. Louis, Missouri 63105
                                               Telephone: 314.621.5070
                                               Fax: 314.621.5065
                                               rbrophy@armstrongteasdale.com
                                               zhowenstine@armstrongteasdale.com
                                               mszewczyk@armstrongteasdale.com

                                               J. Stephen Ravel
                                               State Bar No. 16584975
                                               J.R. Johnson
                                               State Bar No. 240700000
                                               Diana L. Nichols
                                               State Bar No. 00784682
                                               KELLY HART & HALLMAN LLP
                                               303 Colorado, Suite 2000
                                               Austin, Texas 78701
                                               Tel: (512) 495-6529
                                               Fax: (512) 495-6401
                                               steve.ravel@kellyhart.com
                                               jr.johnson@kellyhart.com
                                               diana.nichols@kellyhart.com

                                               Attorneys for Defendant GRANDE
                                               COMMUNICATIONS NETWORKS LLC
                                               and PATRIOT MEDIA CONSULTING,
                                               LLC




                                      10
         Case 1:17-cv-00365-LY Document 79 Filed 04/05/18 Page 11 of 11



                                CERTIFICATE OF SERVICE

       The undersigned certifies that on April 5, 2018, all counsel of record who are deemed to

have consented to electronic service are being served with a copy of this document via the

Court’s CM/ECF system pursuant to Local Rule CV-5(b)(1).



                                            /s/ Richard L. Brophy
                                            Richard L. Brophy




                                               11
